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                        THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION


  SYMBOLOGY INNOVATIONS, LLC,

                 Plaintiff,

         v.
                                                       Case No. 2:17-cv-00085-AWA-RJK
  MARS, INCORPORATED

        and                                            JURY TRIAL DEMANDED
  JOHN DOE
                 Defendants.



                               FIRST AMENDED COMPLAINT


        Pursuant to Fed. R. Civ. P. 15(a)(1)(B), Plaintiff Symbology Innovations, LLC (“Plaintiff”

 or “Symbology Innovations”) files this first amended complaint (“FAC”) against Defendants

 Mars, Incorporated (“Defendant” or “Mars”) and John Doe for infringement of U.S. Patent Nos.

 7,992,773 (the "`773 Patent”, attached as Exhibit A), 8,424,752 (the "`752 Patent”, attached as

 Exhibit B), 8,651,369 (the "`369 Patent”, attached as Exhibit C) and 8,936,190 (the "‘190 Patent”,

 attached as Exhibit D) (collectively, the “Asserted Patents”) and alleges as follows:

    1. This is an action for damages, attorney’s fees, costs, and for further relief based on patent

 infringement under 35 U.S.C. § 271.

                                             PARTIES

 2. Plaintiff Symbology Innovations is a Texas limited liability company with its principal office

    located at 1400 Preston Road, Suite 400, Plano, Texas 75093.
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 3. On information and belief, Defendant Mars is a Delaware corporation with its principal office

    located at 6885 Elm Street, McLean, Virginia, 22101-6031. Upon information and belief,

    Defendant may be served with process at the same address.

 4. At this time, the name and address of Defendant John Doe could not be discovered through

    reasonable effort. If, and when, the true name and address are discovered they will be inserted

    into the complaint by amendment.

                                  JURISDICTION AND VENUE

 5. This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq. Plaintiff

    is seeking damages, as well as attorney fees and costs.

 6. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

    1338(a) (Patents).

 7. The exercise of personal jurisdiction in the Commonwealth of Virginia is proper because acts

    giving rise to Plaintiff’s cause of action have occurred in Virginia. More specifically,

    Defendants have committed, and continue to commit, acts of infringement in the

    Commonwealth of Virginia, Defendant Mars has conducted business in the Commonwealth of

    Virginia, and/or has engaged in continuous and systematic activities in the Commonwealth of

    Virginia. Defendant John Doe resides in this District.

 8. Upon information and belief, Defendant Mars’ instrumentalities that are alleged herein to

    infringe were and continue to be used, imported, offered for sale, and/or sold in the

    Commonwealth of Virginia.

 9. Venue is proper in this District under 28 U.S.C. §§ 1391(a), 1391(b), 1391(c) and 1400(b)

    because Defendants are deemed to reside in this District and/or Defendants have committed

    acts of infringement in this District.
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                                     ASSERTED PATENTS

                                            `773 Patent

 10. On August 9, 2011, the United States Patent and Trademark Office (“USPTO”) duly and

    legally issued the `773 Patent, entitled “System and Method for Presenting Information About

    an Object on a Portable Electronic Device” after the USPTO completed a full and fair

    examination.

 11. Symbology Innovations is currently the owner of the `773 Patent, having received all right,

    title and interest in, and to, the `773 Patent from the previous assignee of record.

 12. Symbology Innovations possesses all rights of recovery under the `773 Patent, including the

    exclusive right to recover for past, present and future infringement.

 13. The `773 Patent contains eighteen claims including three independent claims (claims 1, 12,

    and 15) and fifteen dependent claims.

 14. The method claim of claim 1 of the `773 Patent comprises detecting symbology associated

    with an object, decoding the symbology to obtain a decode string, sending the decode string to

    at least one visual detection application residing on a portable electronic device, receiving a

    first amount of information about the object, sending the decode string to a remote server,

    receiving a second amount of information about the object, combining the first and second

    amounts of information to obtain cumulative information, and displaying the cumulative

    information on a display device that is associated with the portable electronic device.

                                            `752 Patent

 15. On April 23, 2013, the USPTO duly and legally issued the `752 Patent, entitled “System and

    Method for Presenting Information About an Object on a Portable Electronic Device” after the

    USPTO completed a full and fair examination.
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 16. Symbology Innovations is currently the owner of the `752 Patent, having received all right,

    title and interest in, and to, the `752 Patent from the previous assignee of record.

 17. Symbology Innovations possesses all rights of recovery under the `752 Patent, including the

    exclusive right to recover for past, present and future infringement.

 18. The `752 Patent contains twenty-eight claims including three independent claims (claims 1,

    17, and 24) and twenty-five dependent claims.

 19. The method claim of claim 1 of the `752 Patent comprises capturing a digital image, detecting

    symbology associated with an object within the digital image, decoding the symbology to

    obtain a decode string, sending the decode string to a remote server, receiving information

    about the object based on the decode string, and displaying the information on a display device

    that is associated with the portable electronic device.

                                            `369 Patent

 20. On February 18, 2014, the USPTO duly and legally issued the `369 Patent, entitled “System

    and Method for Presenting Information About an Object on a Portable Device” after the

    USPTO completed a full and fair examination.

 21. Symbology Innovations is currently the owner of the `369 Patent, having received all right,

    title and interest in, and to, the `369 Patent from the previous assignee of record.

 22. Symbology Innovations possesses all rights of recovery under the `369 Patent, including the

    exclusive right to recover for past, present and future infringement.

 23. The `369 Patent contains twenty-eight claims including three independent claims (claims 1,

    17, and 24) and twenty-five dependent claims.

 24. The method claim of claim 1 of the `369 Patent comprises capturing a digital image, detecting

    symbology associated with the digital image using a portable electronic device, decoding the

    symbology to obtain a decode string, sending the decode string to a remote server, receiving
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    information about the digital image based on the decode string, and displaying the information

    on a display device that is associated with the portable electronic device.

                                            `190 Patent

 25. On January 20, 2015, the USPTO duly and legally issued the `190 Patent, entitled “System and

    Method for Presenting Information About an Object on a Portable Electronic Device” after the

    USPTO completed a full and fair examination.

 26. Symbology Innovations is currently the owner of the `190 Patent, having received all right,

    title and interest in, and to, the `190 Patent from the previous assignee of record.

 27. Symbology Innovations possesses all rights of recovery under the `190 Patent, including the

    exclusive right to recover for past, present and future infringement.

 28. The `190 Patent contains twenty claims including three independent claims (claims 1, 17, and

    20) and seventeen dependent claims.

 29. The method of claim 1 of the `190 Patent comprises capturing a digital image, detecting

    symbology associated with the digital image using an electronic device, decoding the

    symbology to obtain a decode string, sending the decode string to a remote server, receiving

    information about the digital image based on the decode string, and displaying the information

    on a display device that is associated with the electronic device.

                                         BACKGROUND

 30. Defendant Mars advertises, displays, offers for sale, and sells products which include a Quick

    Response Code (“QR Code”) on its packaging and/or on its associated printed media.

    Defendant Mars’ Products, which display a QR Code on the packaging and/or its associated

    printed media, are referred to herein as “Selected Products”, “selected products”, or “accused

    products”.
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 31. On information and believe, Defendant Mars has actively taken steps to obtain one or more

    QR Codes to display on Selected Products.

 32. On information and belief, Defendant Mars expends resources to display QR Codes on the

    Selected Products and to maintain the infrastructure to ensure information is displayed when a

    QR Code is detected and processed.

 33. On information and belief, Defendant Mars’ sole purpose of displaying QR Codes on Selected

    Products is to permit potential customers, customers, and/or other individuals to detect the

    symbology included in the QR Codes displayed on Selected Products with a portable electronic

    device, to process the symbology contained within the QR Code, and for the potential

    customers, customers, and/or other individuals to obtain additional information related to the

    Selected Products.

 34. On information and belief, potential customers, customers, and/or other individuals actually

    use portable electronic devices such as smart phones to detect symbology included in the QR

    Codes displayed on Selected Products, to process the symbology contained in the QR Codes,

    and to receive additional information related to the Selected Products.

 35. Defendant John Doe has used a portable electronic device to detect symbology included in the

    QR Code displayed on Selected Products, process the symbology contained in the QR Code,

    and has received additional information related to the Selected Products.

 36. On information and belief, potential customers, customers, and/or other individuals who use

    devices such as smart phones to detect the QR Codes, process the symbology contained in the

    QR Code, and receive additional information related to the Selected Products are direct

    infringers of the asserted claims of the patents-in-suit.

 37. Defendant Mars designs advertisements and packaging for products sold in the United States.
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                                        COUNT ONE
                      (Infringement of United States Patent No. 7,992,773)

 38. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 37, the same as if set forth

    herein.

 39. This cause of action arises under the patent laws of the United States and, in particular under

    35 U.S.C. §§ 271, et seq.

 40. Defendant Mars has knowledge of its infringement of the `773 Patent, at least as of the service

    of the initial complaint on February 14, 2017.

 41. On information and belief, Defendant Mars has directly infringed and continues to infringe

    one or more claims of the `773 Patent, including (at least) Claims 1, 2, 3, 4, 6, 7, 8, 10, 11, 14,

    15, 17, and 18 by detecting and processing Quick Response Codes (“QR codes”) on printed

    media (e.g., advertisements, packaging) associated with Selected Products (e.g., Mars Products

    displaying QR Codes) in a manner covered by one or more claims of the `773 Patent. Plaintiff

    reserves the right to amend the asserted claims for the `773 Patent during discovery.

 42. Claims 1, 2, 3, 4, 6, 7, 8, 10, 11, 14, 15, 17, and 18 of the `773 Patent are referred to herein as

    the Asserted claims of the `773 Patent.

 43. Accordingly, Defendant Mars has infringed, and continues to infringe, the Asserted Claims of

    the `773 Patent in violation of 35 U.S.C. § 271.

 44. On information and belief, Defendant Mars has, at least through internal testing, detected and

    processed QR codes displayed in advertisements and packaging of Selected Products.

 45. One specific example of Defendant Mars’ activity involves the use of QR codes in printed

    advertisements and sales of Defendant’s React 2TM Gum.
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 46. For example, on information and belief, Defendant Mars has at least internally tested the

    functionality of its QR codes in connection with the advertising and packaging of its React 2TM

    Gum.

 47. On information and belief, Defendant Mars has captured a digital image of a QR code

    associated with such React 2TM Gum, an example of which is shown below and may be viewed

    at:

 http://4.bp.blogspot.com/‐UM_hsRJ3Yts/T42DPqcIr6I/AAAAAAAAACs/pW‐iuBRXZZg/s1600/7.jpg




 48. On information and belief, Defendant Mars induces consumers such as John Doe to detect and

    process QR codes imprinted on the packaging of Defendant Mars’ products such as React 2TM

    Gum and other products sold to consumers.

 49. Defendant John Doe is a direct infringer of the Asserted Claims of the `773 Patent.
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 50. Defendant Mars knowingly induces its customers such as John Doe to directly infringe the

    `773 Patent by continuing to display QR Codes on Selected Products after being served with

    the initial complaint in this matter.

 51. Defendant Mars’ specific intent to encourage others such as John Doe to infringe the `773

    Patent can be inferred from Mars continuing to display QR Codes on Selected Products after

    being served with the initial complaint in this matter.

 52. Defendant Mars’ knowingly induced its customers such as John Doe and Mars’ specific intent

    to encourage others such as John Doe to infringe the `773 Patent is also shown by Mars’ “Step

    into the lab” invitation to customers and potential customers which is displayed adjacent to the

    QR Code on Selected Products.

 53. Defendant Mars knew, or was willfully blind to the fact that, detecting and processing the QR

    Code on the Selected Products constituted infringement of the `773 Patent because Mars

    continued to sell and advertise its products using QR Codes even after it learned of the asserted

    patents and Mars’ inducement of infringement when it received a copy of the initial complaint

    and Symbology’s infringement contentions.

 54. A comparison between Claim 1 of the `773 Patent illustrating the decoding and processing of

    the QR Codes and the subsequent display of information of Defendant Mars’ advertisement

    for React 2TM Gum is provided in Exhibit E and on information and belief explains Symbology

    Innovations’ infringement theory in sufficient detail to demonstrate a plausible entitlement to

    relief. Plaintiff reserves the right to amend this claim chart based on any additional information

    obtained. Similar comparisons have been made between the other asserted claims of the `773

    Patent and Defendant’s advertisements for React 2TM Gum.
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 55. On information and belief, Defendant Mars has induced, and continues to induce infringement

    of the `773 Patent through its customers’ actions, at least as of the service of the initial

    complaint on February 14, 2017.

 56. The `773 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

    the United States Code.

 57. By engaging in the conduct described herein, Defendants have injured Symbology Innovations

    and are thus liable for infringement of the `773 Patent, pursuant to 35 U.S.C. § 271.

 58. Defendants have committed these acts of literal infringement, or infringement under the

    doctrine of equivalents of the `773 Patent, without license or authorization.

 59. As a result of Defendants’ infringement of the `773 Patent, Symbology Innovations has

    suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

    compensate for Defendants’ past infringement, together with interests and costs.

 60. Plaintiff is in compliance with 35 U.S.C. § 287.

 61. As such, Symbology Innovations is entitled to compensation for any continuing and/or future

    infringement of the `773 Patent up until the date that Defendants cease their infringing

    activities.

                                        COUNT TWO
                      (Infringement of United States Patent No. 8,424,752)

 62. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 61, the same as if set forth

    herein.

 63. This cause of action arises under the patent laws of the United States and, in particular under

    35 U.S.C. §§ 271, et seq.

 64. Defendant Mars has knowledge of its infringement of the `752 Patent, , at least as of the service

    of the initial complaint on February 14, 2017.
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 65. On information and belief, Defendant Mars has directly infringed and continues to infringe

    one or more claims of the `752 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12,

    15, 17, 18, 23, 24, and 25 by detecting and processing Quick Response Codes (“QR codes”)

    on printed media (e.g., advertisements, packaging) associated with selected products (e.g.,

    React 2TM Gum) in a manner covered by one or more claims of the `752 Patent.                Plaintiff

    reserves the right to amend the asserted claims for the `752 Patent during discovery.

 66. Accordingly, Defendant Mars has infringed, and continues to infringe, the Asserted Claims of

    the `752 Patent in violation of 35 U.S.C. § 271.

 67. Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18, 23, 24, and 25 of the `752 Patent are referred to

    herein as the Asserted claims of the `752 Patent.

 68. On information and belief, Defendant Mars has, at least through internal testing, detected and

    processed QR codes displayed in advertisements and packaging of Selected Products.

 69. One specific example of Defendant Mars’ activity involves the use of QR codes in

    advertisements and sales of Defendant’s React 2TM Gum.

 70. For example, on information and belief, Defendant Mars has at least internally tested the

    functionality of its QR codes in connection with the advertising and packaging of its React 2TM

    Gum.

 71. On information and belief, Defendant Mars has captured a digital image of a QR code

    associated with such React 2TM Gum, an example of which is shown below and may be viewed

    at:

    http://4.bp.blogspot.com/‐UM_hsRJ3Yts/T42DPqcIr6I/AAAAAAAAACs/pW‐iuBRXZZg/s1600/7.jpg
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 72. On information and belief, Defendant Mars induces consumers such as John Doe to detect and

    process QR codes imprinted on the packaging of Defendant Mars’ products such as React 2TM

    Gum and other products sold to consumers.

 73. Defendant John Doe is a direct infringer of the Asserted Claims of the `752 Patent.

 74. Defendant Mars knowingly induces its customers such as John Doe to directly infringe the

    `752 Patent by continuing to display QR Codes on Selected Products after being served with

    the initial complaint in this matter.

 75. Defendant Mars’ specific intent to encourage others such as John Doe to infringe the `752

    Patent can be inferred from Mars continuing to display QR Codes on Selected Products after

    being served with the initial complaint in this matter.
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 76. Defendant Mars’ knowingly induced its customers such as John Doe and Mars’ specific intent

    to encourage others such as John Doe to infringe the `752 Patent is also shown by Mars’ “Step

    into the lab” invitation to customers and potential customers which is displayed adjacent to the

    QR Code on Selected Products.

 77. Defendant Mars knew, or was willfully blind to the fact that, detecting and processing the QR

    Code on the Selected Products constituted infringement of the `752 Patent because Mars

    continued to sell and advertise its products using QR Codes even after it learned of the asserted

    patents and Mars’ inducement of infringement when it received a copy of the initial complaint

    and Symbology’s infringement contentions.

 78. A comparison between Claim 1 of the `752 Patent illustrating the decoding and processing of

    the QR Codes and the subsequent display of information of Defendant Mars’ React 2TM Gum

    is provided in Exhibit F and on information and belief explains Symbology Innovations’

    infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

    Plaintiff reserves the right to amend this claim chart based on any additional information

    obtained. Similar comparisons have been made between the other asserted claims of the `752

    Patent and Defendant’s React 2TM Gum process.

 79. On information and belief, Defendant Mars has induced, and continues to induce infringement

    of the `752 Patent through its customers’ actions, at least as of the service of the initial

    complaint on February 14, 2017.

 80. The `752 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

    the United States Code.

 81. By engaging in the conduct described herein, Defendants have injured Symbology Innovations

    and are thus liable for infringement of the `752 Patent, pursuant to 35 U.S.C. § 271.
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 82. Defendants have committed these acts of literal infringement, or infringement under the

    doctrine of equivalents of the `752 Patent, without license or authorization.

 83. As a result of Defendants’ infringement of the `752 Patent, Symbology Innovations has

    suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

    compensate for Defendants’ past infringement, together with interests and costs.

 84. Plaintiff is in compliance with 35 U.S.C. § 287.

 85. As such, Symbology Innovations is entitled to compensation for any continuing and/or future

    infringement up until the date that Defendants cease their infringing activities.

                                        COUNT THREE
                       (Infringement of United States Patent No. 8,936,369)

 86. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 85, the same as if set forth

    herein.

 87. This cause of action arises under the patent laws of the United States and, in particular under

    35 U.S.C. §§ 271, et seq.

 88. Defendant Mars has knowledge of its infringement of the `369 Patent, , at least as of the service

    of the initial complaint on February 14, 2017.

 89. On information and belief, Defendant Mars has directly infringed and continues to infringe

    one or more claims of the `369 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12,

    15, 17, 18, 23, 24, and 25 by detecting and processing Quick Response Codes (“QR codes”)

    on printed media (e.g., advertisements, packaging) associated with selected products (e.g.,

    React 2TM Gum) in a manner covered by one or more claims of the `369 Patent.                Plaintiff

    reserves the right to amend the asserted claims for the `369 Patent during discovery.

 90. Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18, 23, 24, and 25 of the `369 Patent are referred to

    herein as the Asserted claims of the `369 Patent.
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 91. Accordingly, Defendant Mars has infringed, and continues to infringe, the Asserted Claims of

    the `369 Patent in violation of 35 U.S.C. § 271.

 92. On information and belief, Defendant Mars has, at least through internal testing, detected and

    processed QR codes displayed in advertisements and packaging of Selected Products.

 93. One specific example of Defendant Mars’ activity involves the use of QR codes in Internet

    advertisements and sales of Defendant Mars’ React 2TM Gum.

 94. For example, on information and belief, Defendant Mars has at least internally tested the

    functionality of its QR codes in connection with the advertising and packaging of its React 2TM

    Gum.

 95. On information and belief, Defendant Mars has captured a digital image of a QR code

    associated with such React 2TM Gum, an example of which is shown below and may be viewed

    at:

    http://4.bp.blogspot.com/‐UM_hsRJ3Yts/T42DPqcIr6I/AAAAAAAAACs/pW‐iuBRXZZg/s1600/7.jpg
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 96. On information and belief, Defendant Mars induces consumers such as John Doe to detect and

    process QR codes imprinted on the packaging of Defendant Mars’ products such as React 2TM

    Gum and other products sold to consumers.

 97. Defendant John Doe is a direct infringer of the Asserted Claims of the `369 Patent.

 98. Defendant Mars knowingly induces its customers such as John Doe to directly infringe the

    `369 Patent by continuing to display QR Codes on Selected Products after being served with

    the initial complaint in this matter.

 99. Defendant Mars’ specific intent to encourage others such as John Doe to infringe the `369

    Patent can be inferred from Mars continuing to display QR Codes on Selected Products after

    being served with the initial complaint in this matter.
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 100.   Defendant Mars’ knowingly induced its customers such as John Doe and Mars’ specific

    intent to encourage others such as John Doe to infringe the `369 Patent is also shown by Mars’

    “Step into the lab” invitation to customers and potential customers which is displayed adjacent

    to the QR Code on Selected Products.

 101.   Defendant Mars knew, or was willfully blind to the fact that, detecting and processing the

    QR Code on the Selected Products constituted infringement of the `369 Patent because Mars

    continued to sell and advertise its products using QR Codes even after it learned of the asserted

    patents and Mars’ inducement of infringement when it received a copy of the initial complaint

    and Symbology’s infringement contentions.

 102.   A comparison between Claim 1 of the `369 Patent illustrating the decoding and processing

    of the QR Codes and the subsequent display of information of Defendant Mars’ React 2TM

    Gum is provided in Exhibit G and on information and belief explains Symbology Innovations’

    infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

    Plaintiff reserves the right to amend this claim chart based on any additional information

    obtained. Similar comparisons have been made between the other asserted claims of the `369

    Patent and Defendant Mars’ React 2TM Gum process.

 103.   On information and belief, Defendant Mars has induced, and continues to induce

    infringement of the `369 Patent through its customers’ actions, at least as of the service of the

    initial complaint on February 14, 2017.

 104.   The `369 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

    of the United States Code.
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 105.   By engaging in the conduct described herein, Defendants have injured Symbology

    Innovations and are thus liable for infringement of the `369 Patent, pursuant to 35 U.S.C. §

    271.

 106.   Defendants have committed these acts of literal infringement, or infringement under the

    doctrine of equivalents of the `369 Patent, without license or authorization.

 107.   As a result of Defendants’ infringement of the `369 Patent, Symbology Innovations has

    suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

    compensate for Defendants’ past infringement, together with interests and costs.

 108.   Plaintiff is in compliance with 35 U.S.C. § 287.

 109.   As such, Symbology Innovations is entitled to compensation for any continuing and/or

    future infringement up until the date that Defendants cease their infringing activities.

                                       COUNT FOUR
                     (Infringement of United States Patent No. 8,936,190)

 110.   Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 109, the same as if set

    forth herein.

 111.   This cause of action arises under the patent laws of the United States and, in particular

    under 35 U.S.C. §§ 271, et seq.

 112.   Defendant Mars has knowledge of its infringement of the `190 Patent, at least as of the

    service of the initial complaint on February 14, 2017.

 113.   On information and belief, Defendant Mars has directly infringed and continues to infringe

    one or more claims of the `190 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12,

    15, 17, 18, and 20 by detecting and processing Quick Response Codes (“QR codes”) on printed

    media (e.g., advertisements, packaging) associated with selected products (e.g., React 2TM
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    Gum) in a manner covered by one or more claims of the `190 Patent. Plaintiff reserves the

    right to amend the asserted claims for the `190 Patent during discovery.

 114.     Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18, and 20 of the `190 Patent are referred to

    herein as the Asserted claims of the `190 Patent.

 115.     Accordingly, Defendant Mars has infringed, and continues to infringe, the Asserted Claims

    of the `190 Patent in violation of 35 U.S.C. § 271.

 116.     On information and belief, Defendant Mars has, at least through internal testing, detected

    and processed QR codes displayed in advertisements and packaging of Selected Products.

 117.     One specific example of Defendant Mars’ activity involves the use of QR codes in

    advertisements and sales of Defendant Mars’ React 2TM Gum.

 118.     For example, on information and belief, Defendant Mars has at least internally tested the

    functionality of its QR codes in connection with the advertising and packaging of its React 2TM

    Gum.

 119.     On information and belief, Defendant Mars has captured a digital image of a QR code

    associated with such React 2TM Gum, an example of which is shown below and may be viewed

    at:

    http://4.bp.blogspot.com/‐UM_hsRJ3Yts/T42DPqcIr6I/AAAAAAAAACs/pW‐iuBRXZZg/s1600/7.jpg
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 120.   On information and belief, Defendant Mars induces consumers such as John Doe to detect

    and process QR codes imprinted on the packaging of Defendant Mars’ products such as React

    2TM Gum and other products sold to consumers.

 121.   Defendant John Doe is a direct infringer of the Asserted Claims of the `190 Patent.

 122.   Defendant Mars knowingly induces its customers such as John Doe to directly infringe the

    `190 Patent by continuing to display QR Codes on Selected Products after being served with

    the initial complaint in this matter.

 123.   Defendant Mars’ specific intent to encourage others such as John Doe to infringe the `190

    Patent can be inferred from Mars continuing to display QR Codes on Selected Products after

    being served with the initial complaint in this matter.
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 124.   Defendant Mars’ knowingly induced its customers such as John Doe and Mars’ specific

    intent to encourage others such as John Doe to infringe the `190 Patent is also shown by Mars’

    “Step into the lab” invitation to customers and potential customers which is displayed adjacent

    to the QR Code on Selected Products.

 125.   Defendant Mars knew, or was willfully blind to the fact that, detecting and processing the

    QR Code on the Selected Products constituted infringement of the `190 Patent because Mars

    continued to sell and advertise its products using QR Codes even after it learned of the asserted

    patents and Mars’ inducement of infringement when it received a copy of the initial complaint

    and Symbology’s infringement contentions.

 126.   A comparison between Claim 1 of the `190 Patent illustrating the decoding and processing

    of the QR Codes and the subsequent display of information of Defendant Mars’ React 2TM

    Gum is provided in Exhibit H and on information and belief explains Symbology Innovations’

    infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

    Plaintiff reserves the right to amend this claim chart based on any additional information

    obtained. Similar comparisons have been made between the other asserted claims of the `190

    Patent and Defendant Mars’ React 2TM Gum process.

 127.   On information and belief, Defendant Mars has induced, and continues to induce

    infringement of the `190 Patent through its customers’ actions, at least as of the service of the

    initial complaint on February 14, 2017.

 128.   The `190 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

    of the United States Code.
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 129.   By engaging in the conduct described herein, Defendants have injured Symbology

    Innovations and are thus liable for infringement of the `190 Patent, pursuant to 35 U.S.C. §

    271.

 130.   Defendants have committed these acts of literal infringement, or infringement under the

    doctrine of equivalents of the `190 Patent, without license or authorization.

 131.   As a result of Defendants’ infringement of the `190 Patent, Symbology Innovations has

    suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

    compensate for Defendants’ past infringement, together with interests and costs.

 132.   Plaintiff is in compliance with 35 U.S.C. § 287.

 133.   As such, Symbology Innovations is entitled to compensation for any continuing and/or

    future infringement up until the date that Defendants cease their infringing activities.

                                  DEMAND FOR JURY TRIAL

 134.   Symbology Innovations, under Rule 38 of the Federal Rules of Civil Procedure, requests a

    trial by jury of any issues so triable by right.



                                      PRAYER FOR RELIEF

 WHEREFORE, Symbology Innovations respectfully requests that this Court provide it the

 following relief:

        A.      ENTER judgment for Symbology Innovations on this Complaint on all causes of

 action asserted herein;

        B.      AWARD Plaintiff damages resulting from Defendant’s infringement in accordance

 with 35 U.S.C. § 284;

        C.      AWARD Plaintiff its reasonable attorney fees incurred in this matter; and
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        D.     AWARD Plaintiff pre-judgement and post-judgment interests and costs; and

        E.     AWARD Plaintiff such further relief to which the Court finds Plaintiff entitled

 under law or equity.

 DATED April 20, 2017.                            Respectfully submitted,

                                                  By:    /s/ Steven War
                                                  Steven War (VSB # 45048)

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                                                  Innovations
